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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF ILLINOIS

 KAMIL KUKLINESKI, individually and on
 behalf of all others similarly situated,
                                            Case No. 3:21-cv-01425-SPM
              Plaintiff,
                                            Hon. Stephen P. McGlynn
 v.
 BINANCE CAPITAL MANAGEMENT CO.,
 LTD. d/b/a/ BINANCE, BAM TRADING
 SERVICES INC. d/b/a BINANCE.US, and
 JUMIO CORPORATION,

              Defendants.




           DECLARATION OF SAMANTHA CHAN IN SUPPORT OF
      BINANCE CAPITAL MANAGEMENT CO., LTD.’S MOTION TO DISMISS
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I, SAMANTHA CHAN, hereby declare as follows pursuant to 18 U.S.C. § 1746:

       1.      I am the Director of Compliance for Defendant Binance Capital Management Co.,

Ltd. (“BCM”). I have held this position since April 2020. I am authorized by BCM to submit this

declaration in support of BCM’s Motion to Dismiss. I am over the age of 18 and am competent to

provide this Declaration. The facts stated herein are true and correct, to the best of my knowledge

based on records maintained by BCM in the ordinary course of business, or where specified, public

records. I have personal knowledge of the facts set forth in this Declaration and, if called as a

witness, could and would testify competently thereto.

       2.      BCM was founded in 2019 and organized under the laws of the British Virgin

Islands.

       3.      BCM is an investment holding company.

       4.      BCM does not maintain any place of business in the United States.

       5.      BCM is not incorporated, or registered to do business, in Illinois. BCM does not

otherwise operate, conduct, engage in, or carry on a business in Illinois.

       6.      BCM does not maintain a place of business, office, facility, agency, de facto office,

or otherwise have any physical operations in Illinois.

       7.      BCM does not own, use, or possess real or personal property in Illinois.

       8.      BCM has no subsidiary in Illinois.

       9.      BCM does not maintain any bank accounts, offices, post office boxes, telephone

numbers, or any other business facility in Illinois.

       10.     BCM maintains no books or records in Illinois.

       11.     None of BCM’s executives or directors is a resident of Illinois.

       12.     BCM maintains no agent for service of process in Illinois.




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       13.     BCM has no connection with Illinois arising from any business operations or

conduct purposely directed towards Illinois.

       14.     BCM does not solicit business from Illinois.

       15.     BCM does not serve, target, or seek revenue from Illinois.

       16.     BCM does not operate the trading platform Binance.US.

       17.     BCM is not the parent company of BAM Trading Services Inc. d/b/a Binance.US

(“Binance US”). Binance US is not the parent company of BCM.

       18.     Binance US is not a wholly or partially owned subsidiary of BCM. BCM is not a

wholly or partially owned subsidiary of Binance US. BCM does not in any sense dominate or

control Binance US. And Binance US does not in any sense dominate or control BCM.

       19.     BCM and Binance US are separate and distinct entities, and therefore neither acts

on behalf of the other.

       20.     Binance US conducts no business operations on behalf of BCM. BCM does not

exercise complete (or any) control over the daily operations of Binance US, and does not pay for

any of the operating costs of Binance US.

       21.     BCM does not finance the operations of Binance US, or treat the cashflow of

Binance US as its own.

       22.     BCM and Binance US do not file consolidated tax returns in any jurisdiction.

       23.     BCM and Binance US do not share office space, and each entity maintains separate

corporate records.




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       I declare under penalty of perjury under the laws of the United States that the foregoing is

true and correct to the best of my knowledge and that this Declaration was executed on January

28, 2022 in Singapore.




                                             _______________________________________
                                             Samantha Chan




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